Case 5:21-cv-01171-SVW-KK Document1 Filed 07/07/21 Page1of32 Page ID#:1

Plaintiff's Name rHowAs Ante, GAN DARE
Prisoner No. _BMO7Z/(9

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

 

 

THOMAS ARTHUR GAWDARA, Case No.
(Enter your full name) (Provided by the clerk upon filing)
v.

 

CALL FORM £ A COMPLAINT BY A PRISONER
co | | UNDER THE CIVIL RIGHTS ACT,
42 U.S.C. § 1983

 

SEE ATTACHE L2ST oF DEFEWRAWTS

 

(Enterthe full name(s) of all defendants in this action)

 

I. Exhaustion of Administrative Remedies.

You must exhaust available administrative remedies before your claim can go forward. The court will dismiss any
unexhausted claims.

A. Place of present confinement _SAUZWAS VALLEY STATO Piesor/

B. Is there a grievance procedure in this institution?_ MN YES C1 NO
; . © REAGLSEOG COUWTT SABLE
C. Ifso, did you present the facts in your complaint for review through the grievance procedure?
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YT E GU AMEWPLMEWT RILGIE WELLE (ZOLATE IO
D. If your answer is YES, list the appeal number and the date and result of the appeal at each
level of review. If you did not pursue any available level of appeal, explain why.

1. Informal appeal: O2iNKC REQYVSST TO 6G WMOVEY wns
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2. First formal level: _(/6VER GevEnW Ai APPEAL VUVIEER
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Prisoner Complaint (rev. 12/2020) Page | of 3
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3. Second formal level: x4 sévrewniwe 2ZOLVe

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4. Third formal level: MO Try 2) LOVEL AVALIABLE At
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jh) ROMOVEN FRovA KCTFONABLE CONDEYTWIs Ie’ COURT ORDER Od
ve RBOGT PEBRKUIC 13,2020.
E. Is the last level to which you appealed the highest level of appeal available to you?
YES Ol NO

F. Ifyou did not present your claim for review through the grievance procedure, explain why.

 

 

 

II. Parties.

A. If there are additional plaintiffs besides you, write their name(s) and present address(es).

 

SEW (AE PLAT IT? EF LAL) SUZV

 

B. For each defendant, provide full name, official position and place of employment.

 

 

 

 

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($e ATTACHE LEST OF DEFENVANT?)
Il. Statement of Claim.

State briefly the facts of your case. Be sure to describe how each defendant is involved and to
include dates, when possible. Do not give any legal arguments or cite any cases or statutes. If you
have more than one claim, each claim should be set forth in a separate numbered paragraph.

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IV. Relief.

Your complaint must include a request for specific relief. State briefly exactly what you want
the court to do for you. Do not make legal arguments and do not cite any cases or statutes.

 

SOG _ATTACHGY) 2 pAoEg
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J DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

op | y ‘
Executed on: SU 27,2021 duayudlyl & budlahe JN

Date Signature of Plaintiff

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KVDAT THES PoRWYt 2 SiHouLy mMowrZen ewmAte (PAT SEWT IrCKSow Jowes, Lei. Fx, Leb-si] once
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CFL WHS, Er) TRU AW PACT, OASEA OR WORSEWEA/ A PEC CHOLICECYE OE

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ET p-14

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TL p-20

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0 Pure Tho nb me cout PLOLGEVEACS To BE FLW ~ Eni CourEMWyT to sTAWw? REG,
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COU PETRI CT PROGR AVA.

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Lew Re WOW MHR- 12] AW WAS CL EECEACLY oud COIMPETAWT TO STAWY tReaL

—__S_ TE CAL RFORW EH SUPER ESK (COURT O01 REVERS Z0E COoUWTT, BEFORE LEB AWOTIER

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SS ENE AN LECT AMY FFECIWOS Vie SECE-CinSl Sou syess, PLEASE, REMEURE2 MA FEST
— Tw Onze lAribés (tMtAtt Es levee | Awe LevEL 2) Ow THESE SAME 2 sSUE5 ARE OW

__FBRCE wett the REVERS xi E COUWTY SHERZEE’S DEPART MENT.

 

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MT p-20

APPILOPLEETOIN , EW ACCORVAWCE WED TUE SHERELE’S DEPARTIMEWTS POLE Awy
Po Ce puppets, A DEPUT= YUAROUES rigs yewNEO TO me GREGVAIICE, DEP ARGUES
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TUG GREGVAW LE WAS Wet PROPGIAN -LLE0., DEPUTY KKROUES RetunRnsGy
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ait An) PECWATY, UumMsrATy ROSPACT, AS WELL AS MOF SELE-KEP ECT

 

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TeLp ME f#s OFFEE DEO MOT YAVE Aur (tite

 
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fit p-2>

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__FECECWO AW ORAL METEOW AT MES TMG, Pw FRowT OF.

TuWooG TERMOTEY F_LHOLLAWIOHORST. 2 S400 ~~ 8s, PLEASE YO. “

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D2) FRCG sABPW GRAL MOCROW NMZTA VO 0PPOAPRTEOW FROM UE YZSTRET
ATTORMWESS OFFLCE , Lv THE ORAL ARGUMEWT NEP. PO. UARLZSOW sTTE}

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CRYAGIIA PW BT

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__ YWDUE HOLL AW VU HORST Wwo0ROS WERE ~£L Wei onneR THe sHERZEE's pEraztmanT_

__BVACUKTG Wes (Liss 84 ZCATIOW AW 5¢6 £6 AG £5 suttTABie (OR F-HOUSEWG

—_ ) Panr-purerszio de TRANS C2EPT Sitoil) BF AVALLARLE Ulloa  DESWOUENT JUOTLOW, _

(bj) £ DO ASSENT WAT We CRAWTEA OF TES ONL MOTROW BY JUDOE toliNwis Horst

be tw FER HHT FACE Te MOTHY 3. itUlLtAWVOTORST YW2n RECOLMEZSG THAT

 

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fr PROPERTY 4 2 WAS MOVE BACIL TO THE S€COWi) FLOOR A0-540. CELLS THAT DFU
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Gib pezwy

 

MOT UAGE CAWERHS,

ML) TUG HECLIWCS OF AWNEE TE SHAME, CULLT, GILBATRRASSMENT, LOU) SELE-CSTEEGU1,

LOSS GE WU) DECNETS, AW) Sa16 fPitltnlozhk utCRE steic UERN STRowe FORr_

 

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- UAV UFSSOAAGW), SOMEWHAT, NOW, IAW 24, 292, WES ANE Mesiey cong
‘ BUT # $12. POGL SURWEG WUECT, AW) GUAGARRITS SILC, AS WELL AS Ae cere
Ap ie LETTE PAPAIN EA, OCS COW

CI) WHAT BAST VEC sae, 25 Tent THE DAnees, DEST RECT ATWLWECS OLECE,
PUubLeE DEPGURER S SFFLCE, sh CRZEF'S PEVARTMEWT 07 REICILSZ0E ce ee AV
IMGUN NL _UGACI CATE 362 ECGS OF LRUELS EE COUMW TT, CHLEPOR NEA AIRE ALU
BWA OF THESE ChMERKhs EUEvrior PiNtFY Pw szZ0e (UWESF (FORTY CELCS
OF TAC FEETH FLOOR, FU RRIGRASTOE, CA, wiht 2 Lee To AW ow?

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BE _UASE 5PEWIT WUT GAS ZH) CARCORATED, AW TO WT COW/SCEOUS KWIOWLEYXCE » THES
Fo Tie WOT SEVENE AVVO AbGNGCE ILS WL OCKT COW OF PREC, OPCWEE DES~LAEO,
TUtAT_£ WANE ALER EAT) TREE PLACE Ba) Ard EZn/sTETUTEOWMAL SO TTEe Wow

—_F_ BECEEVE 4s MEMBERS Of TUE COuAT, Lew CAMO2LEMEUT, AW Men LEW tit CHOSE

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OP rats? (AWEERS tn WHE INWATELPATEENT CELLS HAD An RRSSLUTE LECAZ

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CAWMINE ROMILGO Fens Ese 40 (eon) ¢rwaxe/ppxtent CEUs, ZUMEOTATELS.

 
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I p-2s

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LéiAC PROPERTY mANO LNT CUGCTUAL PROLCRTY 4 HAVZWC BEEN USER BW AD ZLULGCAL

STURT, AAO TO THES DAS, PERUAPS ST2LC BENS UsGy, £ AM LUALEN EWTETCEY TY

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OW A LIMIT EWieUs BASES Li ka) BUCCAL STUDS TO MTTEWPT TO LER ABOUT ST CHO 2£5,

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A) T wWihks TRAWSZERRE! FROM tHE CEL WweTH AD LLLEOCAC CAMELK EAL£ZT OW 8R AGOLT _
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RELENSEY PROV QUABAAITEVE OW 0/2 ABOAT DECEMLER. 2, 2920,

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Ub p-2¢ |

 

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— Tk LAT ER, DEP UTS PUBLec DEPEWDER UWhOWECLK pGUTEW, POR we YABEUS
9 RPUs FoRy , [ £ WAS HALCENMEW A UARIPG@Y weApene |} DEL ER M6uUtGW sAEY

UG PUB.LC DEFEWLOR S OFFECE pDtd VOT PLOVEOE succe FORMS , BUT PHF WOULL? CFECK,
TNE Wel RW 2 SK) DER AD, WeurtGn Sug TOLD UE Were (FLEE 922 JOT WHALE

Sure LABELS CORPUS FOILS

 

C) MY TELE PiteWG Book, WEI SOME COULT ADYNESSES AY ouped COUAL LESOULCES
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UTIL OL BTA STRAT LOS PEEL. EW £95 Ap/OGLES COUNTY, THe ADPLESs 290K SEN Liv

OIINS WOT EW) MA PROPERTY wiht £2 REAR £0 7 AT M.S My

 

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DEP. PD. UALRESOM) WE TOL ME THOLE WERE AO UARELS Conhas ORHes AVALOABLE AT
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TRA 5 FER TO WE RECEYTLOW CENTER AT WASCO 5 TIETS ~REBOL bry SEYT EUG 0, 2920

 

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